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       DSW SHOE WAREHOUSE, INC. and
     9 DESIGNER BRANDS INC.
    10                            UNITED STATES DISTRICT COURT
    11                           CENTRAL DISTRICT OF CALIFORNIA
    12                                 WESTERN DIVISION
    13 JILL MORRISON; individually, and on          Case No. 2:19-cv-09477-DSF-AFM
       behalf of other members of the general
    14 public similarly situated and on behalf of   Assigned to Hon. Dale. S. Fischer
       other aggrieved employees pursuant to
    15 the California Private Attorneys General     MEMORANDUM OF POINTS AND
    16 Act,                                         AUTHORITIES IN SUPPORT OF
                                                    DEFENDANTS’ MOTION TO
    17              Plaintiff,                      (1) DISMISS PLAINTIFF’S
                                                    ELEVENTH CAUSE OF ACTION
    18              vs.                             (FRCP Rule 12(b)(6)); (2)COMPEL
                                                    ARBITRATION OF PLAINTIFF’S
    19 DSW SHOE WAREHOUSE, INC., a                  INDIVIDUAL CLAIMS; (3) STRIKE
       Missouri Corporation; DESIGNER               CLASS ALLEGATIONS; AND
    20 BRANDS, INC., a California                   (4) STAY ACTION
       Corporation; and DOES 1 through 100,
    21 inclusive,                                   (Filed Concurrently with Notice of
                                                    Motion; Declarations of Katherine
    22             Defendants.                      Clayton, Miriam Shoap, and Peter
    23                                              Hering; and [Proposed] Order)

    24                                                                   Hearing
    25                                              Date:                    February 10, 2020
                                                    Time:                    1:30 p.m.
    26                                              Courtroom:               7D
    27
    28
                                                                               CASE NO. 2:19-cv-09477-DSF-AFM
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     1             INTRODUCTION
     2             Plaintiff Jill Morrison (“Plaintiff”) filed a putative class and representative
     3 action against defendants DSW Shoe Warehouse, Inc. (“DSW”) and Designer
     4 Brands Inc. (“Designer Brands,” together with DSW, “Defendants”) in Los Angeles
     5 Superior Court (the “Complaint”), which Defendants removed to this Court.
     6 Plaintiff alleges various wage-and-hour violations on behalf of herself and the
     7 putative class and also seeks civil penalties under the Labor Code’s Private
     8 Attorneys’ General Act (“PAGA”) on behalf of herself and other aggrieved
     9 employees (the “PAGA Claim”).
    10             There are, however, two fatal flaws to Plaintiff’s efforts to pursue these claims
    11 on behalf of a class and other aggrieved employees. First, Plaintiff’s PAGA Claim
    12 is time-barred because she filed her Complaint more than 435 days after her last day
    13 of employment. Thus, the Court should dismiss the PAGA Claim. Second, Plaintiff
    14 is bound by a valid arbitration agreement that includes a class action waiver. Thus,
    15 under the Federal Arbitration Act (“FAA”), the Court must compel Plaintiff’s
    16 individual claims to arbitration and should strike her class allegations.
    17             FACTUAL BACKGROUND
    18             A.            Factual Allegations Relevant To Defendants’ Motion To Dismiss.
    19             Plaintiff is a former assistant store manager of DSW.                    (Compl. ¶ 14.)
    20 Plaintiff’s employment ended on “approximately May 2, 2018.” (Id.)
    21             Almost one year later, on March 25, 2019, Plaintiff provided written notice
    22 required under PAGA to the Labor and Workforce Development Agency and to
    23 DSW (the “PAGA Notice”). (Id. at ¶ 75.) Under Labor Code Section 2699.3(a)(2)
    24 and (d), this statutorily required notice tolls the one-year statute of limitations
    25 applicable to PAGA claims for 65 days. (CAL. LAB CODE § 2699.3, subdivisions
    26 (a)(2), (d).) Therefore, the last possible day to file a PAGA claim was July 6, 2019
    27 (365 days + 65 days).
    28
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   1             Plaintiff filed her Complaint on July 29, 2019. (See Compl., Caption Page.)
   2 Plaintiff’s eleventh cause of action is her PAGA Claim, which seeks civil penalties
   3 for the following alleged violations: (1) failure to pay overtime; (2) failure to provide
   4 meal periods; (3) failure to provide rest periods; (4) failure to pay minimum wage;
   5 (5) failure to timely pay wages upon termination; (6) failure to timely pay wages
   6 during employment; (7) failure to provide accurate wage statements; (8) failure to
   7 keep complete and accurate payroll records; (9) failure to reimburse necessary
   8 business-related expenses and costs; and (10) failure to provide reasonable seating
   9 opportunities. (Compl. ¶¶ 151-159, 161.) As explained in Section IV, below,
 10 Plaintiff’s PAGA claim is untimely and, therefore, time barred.
 11              B.            Relevant Facts Related To Defendants’ Motion To Compel
 12                            Arbitration And Motion To Strike.
 13                            1.   Defendants Rolled Out An Arbitration Agreement And A New
 14                                 Associate Handbook Electronically In March 2017.
 15              In March 2017, DSW rolled out a Dispute Resolution Agreement that
 16 provided for arbitration of employment-related disputes (the “Arbitration
 17 Agreement”) and a new Associate Handbook (the “Handbook”) for both existing
 18 associates and new hires. (Declaration of Katherine Clayton (“Clayton Decl.”), ¶ 5.)
 19 DSW used its online training platform, which is called Learning Resource Center
 20 Online (“LRC Online”) to distribute the Arbitration Agreement and the Handbook
 21 to its associates. (Id. ¶¶ 3, 5.) Every associate is assigned an individual LRC Online
 22 profile, called “My Transcript,” which tracks the training modules the associate has
 23 completed and the training modules the associate still needs to complete. (Id. ¶ 3.)
 24              On March 10, 2017, Katherine Clayton, the individual responsible for placing
 25 training content on the LRC Online profiles of associates, placed two training
 26 modules on the LRC Online transcripts of store management at all DSW stores,
 27 including Plaintiff’s LRC Online transcript: (1) the Associate Handbook module (the
 28 “Handbook Module”); and (2) the DSW Arbitration Agreement – Stores module (the
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   1 “Arbitration Module”). (Id. ¶ 6.) Store management was notified about the new
   2 training modules on March 13, 2017. (Id.)
   3                           2.     The Handbook Module Informed Associates About The
   4                                  Arbitration Agreement And Right To Opt Out.
   5             The Handbook Module walks the associates through DSW’s Handbook step
   6 by step in click-through fashion. (Id. ¶ 7, Ex. 6.) On the first screen of the Handbook
   7 Module, associates are notified that they will be required to acknowledge that they
   8 received a copy of the Handbook at the end of the module. (Id. Ex. 6, p. 1, top
   9 image.) On the last screen of the Handbook Module, associates are required to
 10 acknowledge that they received a copy of the Handbook. (Id. Ex. 6, p. 2, top image.)
 11 The Handbook Module specifically mentions DSW’s Arbitration Agreement and
 12 explains the opt out process:
 13                            Associates who do not opt out of the arbitration agreement
                               within 30 days of receipt will be bound by the terms of the
 14                            arbitration agreement. Opt out instructions are provided in
                               the Arbitration Agreement assigned to associates in their
 15                            transcripts through Learning Resource Center.
 16 (Id. Ex. 6, p. 1, bottom image.)
 17                            3.     The Arbitration Module Informed Associates About The Right
 18                                   To Opt Out And The Consequence Of Not Timely Opting Out In
 19                                   Three Different Places.
 20              Like the Handbook Module, the Arbitration Module walks the associates
 21 through DSW’s Arbitration Agreement step-by-step in click-through fashion. (Id.
 22 ¶ 8, Ex. 7.)                    The Arbitration Module consists of four tabs: (1) Overview;
 23 (2) Arbitration Agreement; (3) Opt Out Instructions; and (4) Arbitration
 24 Acknowledgment. (Id.) The Overview tab asks the associates to “review and
 25 acknowledge the following Arbitration Agreement.” (Id. Ex. 7, p. 1, top image.) It
 26 also explains to associates their options regarding the Arbitration Agreement,
 27 including the right to opt out within 30 days:
 28
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   5 (Id.) This is the first of three references in the Arbitration Module to associate’s
   6 right to opt out of the Arbitration Agreement and the consequence of not opting out
   7 – being bound by the Arbitration Agreement.
   8             The Arbitration Module continues with the Arbitration Agreement tab, which
   9 covers the text of the Arbitration Agreement over ten screens. (Id. Ex. 7.) The third
 10 screen of the module covers Section 1 of the Arbitration Agreement and informs the
 11 associate that “[e]xcept as otherwise set forth in this Arbitration Agreement, final
 12 and binding arbitration shall be the sole and exclusive remedy for all Claims between
 13 the Company and Employee.” (Id. Ex. 7, p. 2, top image.) “Claims” is defined as
 14 “all past, present, and future claims, disputes, and controversies of any nature in any
 15 way arising out of, relating to, or associated with Employee’s employment with the
 16 Company[.]” (Id.)
 17              On the ninth and tenth screen, the module covers Section 9 of the Arbitration
 18 Agreement, which explains in detail the associate’s right to opt out and the procedure
 19 for opting out. Section 9, in bold, states:
 20                            Arbitration is not a mandatory condition of Employee’s
                               employment at the Company, and therefore an
 21
                               Employee may submit a statement notifying the
 22                            Company that the Employee wishes to opt out and not
                               be subject to this Agreement.
 23
 24 (Id. Ex. 7, p. 5, top image.) After explaining the opt-out procedure, Section 9 assures
 25 associates that they “will not be subject to any adverse action” for opting out of the
 26 Arbitration Agreement. (Id. Ex. 7, p. 5, bottom image.) Finally, Section 9 explains
 27 the consequences of not opting out of the Arbitration Agreement in unequivocal
 28
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   1 terms:
   2                           If an Employee does not opt out of this Agreement within
                               30 days of the Employee’s receipt of this Agreement
   3
                               through one of the methods specified above, continuing
   4                           employment constitutes mutual acceptance of the terms of
                               this Agreement by Employee and the Company[.]
   5
   6 (Id. [emph. added].)
   7        The third tab of the Arbitration Module, the Opt Out Instructions, repeats
   8 verbatim the language of Section 9. (Id. Ex. 7, p. 6, bottom image.) This is the third
   9 reference in the Arbitration Module to the associate’s right to opt out of the
 10 Arbitration Agreement and the consequence of the Associate’s not opting out – being
 11 bound by the Arbitration Agreement.
 12              The last screen of the Arbitration Module, the Arbitration Acknowledgment
 13 tab, asks the reviewing associate to acknowledge the following language:
 14
 15
 16
 17
 18
 19 (Id. Ex. 7, p. 7, top image.) In clicking the box next to the words “I acknowledge,”
 20 the associate acknowledges the associate’s understanding that “by accepting or
 21 continuing employment with the Company, [the associate] agree[s] to be bound by
 22 the terms of the Arbitration Agreement.” (Id.)
 23                            4.    The Arbitration Agreement Includes A Class Action Waiver.
 24              On the eighth screen, the Arbitration Module discusses Section 8 of the
 25 Arbitration Agreement, which covers the class action waiver previously mentioned
 26 on Overview tab. (Id. Ex. 7, p. 4, bottom image.) Section 8 states:
 27                            This Agreement affects your ability to participate in
                               class, collective, and representative actions. Both the
 28
                                                                                      CASE NO. 2:19-cv-09477-DSF-AFM
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   1                           Company and you agree to bring any dispute in arbitration
                               on an individual basis only, and not on a class, collective,
   2
                               or representative basis on behalf of others. There will be no
   3                           right or authority for any dispute to be brought, heard or
                               arbitrated as a class, collective, representative or private
   4
                               attorney general action, or as a member in any such class,
   5                           collective, representative or private attorney general
                               proceeding (“Class Action Waiver”).
   6
   7 (Id.) Section 8 further states that “disputes regarding the validity, enforceability or
   8 breach of the Class Action Waiver may be resolved only by a civil court of
   9 competent jurisdiction and not by an arbitrator.” (Id.)
 10                            5.    Plaintiff Reviewed The Arbitration Module On March 15, 2017,
 11                                  And Subsequently Never Opted Out.
 12              On March 15, 2017,1 Plaintiff signed into her LRC Online transcript to review
 13 the Handbook Module and the Arbitration Module. (Clayton Decl. ¶ 9.) To sign
 14 into her LRC Online transcript, Plaintiff had to use her unique username and her
 15 personally-selected password. (Id. ¶¶ 4, 9.) Plaintiff, like all associates, was
 16 prohibited from sharing her usernames and passwords with anyone under DSW’s
 17 Technology Use Policy. (Id. ¶ 4, Ex. 1.) Plaintiff had reviewed this policy and was
 18 trained at least twice on the importance of password security. (Id. ¶ 4, Exs. 2-5.)
 19              Plaintiff first reviewed and completed the Handbook Module on March 15,
 20 2017, at 7:17 pm. (Id. ¶ 9.a, Ex. 8.) The only way for her to complete the Handbook
 21 Module was to click the box next to the words “I acknowledge” on the last screen.
 22 (Id.) After she completed the Handbook Module, she received a certificate of
 23 completion. (Id. ¶ 9.b, Ex. 9.)
 24              Immediately after completing the Handbook Module, Plaintiff reviewed and
 25 completed the Arbitration Module at 7:19 pm. (Id. ¶ 9.c, Ex. 10.) The only way for
 26 her to complete the Arbitration Module was to click the box next to the words “I
 27
                 1
 28                  Plaintiff began working for DSW in July 2010. (Compl. ¶ 14.)

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   1 acknowledge” on the Arbitration Acknowledgment tab. (Id.) After she completed
   2 the Arbitration Module, she received a certificate of completion. (Id. ¶ 9.d, Ex. 11.)
   3             Although Plaintiff reviewed and completed the Arbitration Module in one
   4 session, she could, if she chose to, have reviewed the Arbitration Module in several
   5 sessions, and her LRC Online transcript would have saved her progress and allowed
   6 her to return to it at any time. (Id. ¶ 10.) At any time during her employment,
   7 Plaintiff had the ability to go back into her LRC Online transcript and re-review the
   8 completed arbitration module. (Id.) She also could have printed screenshots of the
   9 completed Arbitration Module for her records, including the opt-out instructions, on
 10 her store’s office printer. (Id.) Further, as an assistant manager, Plaintiff had access
 11 to a PDF version of the Arbitration Agreement on DSW’s intranet and could have
 12 printed herself a copy of Arbitration Agreement at any time. (Id. ¶ 11.)
 13              Despite being repeatedly informed of her right to opt out of the Arbitration
 14 Agreement in both the Handbook Module and the Arbitration Module, Plaintiff did
 15 not opt out of the Arbitration Agreement, either within the required 30 days of
 16 completing the Arbitration Module or at any time during her employment.
 17 (Declaration of Miriam Shoap (“Shoap Decl.”), ¶ 3.)
 18              LEGAL STANDARDS GOVERNING THIS MOTION
 19              A.            Motion To Dismiss Under FRCP Rule 12(b)(6)
 20              Under FRCP 12(b)(6), a defendant may move to dismiss a complaint for
 21 “failure to state a claim upon which relief can be granted.” A 12(b)(6) motion tests
 22 the legal sufficiency of the plaintiff’s claims for relief. Navarro v. Block, 250 F.3d
 23 729, 732 (9th Cir. 2001). If it appears that a plaintiff lacks a cognizable legal theory,
 24 or has alleged insufficient facts under a cognizable legal claim, dismissal is
 25 warranted. Robertson v. Dean Witter Reynolds, Inc., 749 F.2d 530, 534 (9th Cir.
 26 1984). In order to survive a motion to dismiss, “a complaint must contain sufficient
 27 factual matter, accepted as true, to ‘state a claim to relief that is plausible on its
 28 face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)(quoting Bell Atl. Corp. v.
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   1 Twombly, 550 U.S. 544, 570 (2007)). Claims may also be dismissed under Rule
   2 12(b)(6) if the pleading discloses a complete defense that will necessarily defeat the
   3 claim. Knowles v. Pac. Gas & Elec. Co., No. C 07-2284 CW, 2008 WL 2705097,
   4 at *3 (N.D. Cal. July 8, 2008)(citing Jablon v. Dean Witter & Co., 614 F.2d 677,
   5 682 (9th Cir. 1980)).
   6             Although “a plaintiff is not ordinarily required to plead around affirmative
   7 defenses,” the Court may dismiss a claim “‘as untimely pursuant to a 12(b)(6)
   8 motion when the running of the statute of limitations is apparent on the face of the
   9 complaint.’”               Ayala v. Frito Lay, Inc., 263 F. Supp. 3d 891, 913 (E.D. Cal.
 10 2017)(quoting United States ex rel. Air Control Techs. v. Pre Con Indus., 720 F.3d
 11 1174, 1178 (9th Cir. 2013)).
 12              B.            Motion to Compel Arbitration
 13              Under the Federal Arbitration Act (FAA), the court’s role when evaluating a
 14 motion to compel arbitration is limited to determining two issues: (1) Whether “a
 15 valid arbitration agreement exists”; and (2) “whether the agreement encompasses the
 16 dispute at issue.” Davis v. Nordstrom, Inc., 755 F.3d 1089, 1092 (9th Cir. 2014).
 17 “If the response is affirmative on both counts, then the Act requires the court to
 18 enforce the arbitration agreement in accordance with its terms.” Chiron Corp. v.
 19 Ortho Diagnostic Sys., 207 F.3d 1126, 1130 (9th Cir. 2000).
 20              PLAINTIFF’S ELEVENTH CAUSE OF ACTION IS TIME BARRED.
 21              A.            The Statute Of Limitations For A PAGA Claim Is One Year.
 22              The statute of limitations for a PAGA claim is one year. See Esparza v.
 23 Safeway, Inc., 36 Cal. App. 5th 42, 59 (2019)(“A PAGA action is subject to a one-
 24 year statute of limitations.”); Brown v. Ralphs Grocery Co., 28 Cal. App. 5th 824,
 25 839 (2018)(citing CAL. CIV. PROC. CODE § 340(a)); see also Vo v. Loanme, Inc., No.
 26 SACV 17-00072 AG (DFMx), 2018 WL 6137577, at *2 (C.D. Cal. Sept. 24,
 27 2018)(“The one-year statute of limitations for PAGA claims has been well
 28 established in California federal district court cases, including in Thomas v. Home
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   1 Depot USA Inc., 527 F. Supp. 2d 1003 (2007).”).
   2             The statute of limitations for a PAGA claim begins to run when the underlying
   3 Labor Code violation that triggers the civil penalty under PAGA occurs. See
   4 Esparza, 36 Cal. App. 5th at 60 (holding that the plaintiff’s PAGA claim accrued no
   5 later than the date of the last alleged violation of Labor Code Section 226.7) & 63 n.
   6 11 (“Some PAGA plaintiffs may base their claims on violations occurring at or
   7 through the end of their employment. Courts addressing those claims may use the
   8 end of employment as shorthand for the most recent time at which a cause of action
   9 may have accrued.”); see also Brown v. Dow Chem. Co., No. 18-cv-07098-MMC,
 10 2019 WL 1438865, at *2 (N.D. Cal. Apr. 1, 2019)(holding that the plaintiff’s PAGA
 11 claim accrued on the date the alleged violation of Labor Code § 432.5 occurred).
 12              Before filing a PAGA claim, a plaintiff must file a notice with the LWDA and
 13 can proceed only after the LWDA makes a determination not to prosecute. CAL.
 14 LAB. CODE § 2699.3(a)(2)(B). The one-year statute of limitations may be tolled for
 15 up to 65 days while the LWDA considers whether to prosecute a plaintiff’s claim.
 16 See CAL. LAB. CODE § 2699.3(a)(2) & (d); see also Hill v. Genuine Parts Co., No.
 17 1:18-CV-1550 AWI SAB, 2019 WL 935976, at *2 (E.D. Cal. Feb. 26, 2019)(noting
 18 that plaintiff could have filed PAGA claim one year and 65 days after the violation).
 19              This means that, assuming timely notice to the LWDA, a plaintiff has to file
 20 a PAGA claim within 1 year and 65 days – or 430 days – after the alleged violation.
 21              B.            Plaintiff’s PAGA Claim Is Time-Barred On Its Face.
 22              Plaintiff filed her Complaint, which included her PAGA Claim, more than 430
 23 days after her PAGA Claim accrued, as shown by the following timeline:
 24                           May 2: 2018: Plaintiff’s last day of employment with DSW. (Compl.
 25                            ¶ 14.)
 26                           March 25, 2019: Plaintiff mailed her PAGA Notice to the LWDA. (Id.
 27                            at ¶ 75.)
 28                            o 327 days passed between Plaintiff’s last day of employment and the
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   1                              date she sent her PAGA Notice to the LWDA.
   2                          March 25, 2019 - May 29, 2019: The statute of limitations was tolled
   3                           for 65 days.
   4                          July 6, 2019: The last day that Plaintiff could file her PAGA claim.
   5                           (430 days fell on Sunday, July 5, 2016, which would have allowed
   6                           Plaintiff to file her claim on Monday, July 6, 2019.)
   7                          July 29, 2019: Plaintiff files her Complaint. (Compl., Caption Page.)
   8                           o 61 days passed between the end of the tolling period and the filing
   9                              of Plaintiff’s Complaint.
 10              In total, Plaintiff filed her Complaint 453 days after her employment ended,
 11 23 days outside of the PAGA statute of limitations. Thus, on its face, Plaintiff’s
 12 PAGA claim is time-barred. See Hill, 2019 WL 935976, at *2 (dismissing a PAGA
 13 claim, which was based on the alleged failure to timely pay all wages upon
 14 termination, with prejudice where the plaintiff had filed the PAGA claim more than
 15 430 days after the last day of employment). Accordingly, the Court must dismiss
 16 the PAGA Claim.
 17              C.            Plaintiff Cannot Save Her Untimely PAGA Claim By Relying On
 18                            The Remedy In Labor Code Section 203, Since Any Violation Of
 19                            Section 203 Occurred On Her Final Day Of Employment.
 20              Plaintiff seeks to extend the statute of limitations by alleging that she “was
 21 not paid all wages owed at the time of termination, and her wages that were owed
 22 continued for 30 days thereafter, including penalties, until June 2, 2018.” (Compl.
 23 ¶ 14.) If the legal theory underlying this allegation, which asserts that a claim under
 24 Section 203 does not accrue until 30 days after termination, had merit, Plaintiff’s
 25 PAGA Claim would barely be timely – by 7 days. However, Plaintiff’s legal theory
 26 ignores California Supreme Court precedent and the plain text of Section 203.
 27              First, the California Supreme Court has held that “[a] cause of action for
 28 section 203 penalties accrues when an employer fails to pay wages on the
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   1 employee’s final workday . . . .” Pineda v. Bank of Am., N.A., 50 Cal. 4th 1389,
   2 1398 n.7 (2010)2; see also Crosby v. Wells Fargo Bank, N.A., 42 F. Supp. 3d 1343,
   3 1346 (C.D. Cal. 2014)(holding that “any violation of § 201 by [the defendant]
   4 occurred on the date of [the plaintiff’s] termination.”). This rule is consistent with
   5 the general rule that “a statute of limitations begins to run when a cause of action
   6 accrues, meaning when the cause of action is complete with all of its elements.”
   7 Esparza, 36 Cal. App. 5th at 59. All elements of a PAGA claim for violation of
   8 Section 203 are satisfied when the employer willfully fails to timely pay all wages
   9 owed within the timing required by Sections 201 and 202. Thus, at the very latest,
 10 a claim for civil penalties under PAGA, based on a violation of Section 203, accrues
 11 no later than either (1) the last day of employment, or (2) 72 hours after the last day
 12 of work (if an employee resigns without notice). CAL. LAB. CODE § 201-203.
 13             Second, the cases that have addressed the issue of when a PAGA claim, which
 14 is based on an alleged violation of Sections 201-203, accrues, have uniformly looked
 15 to the termination date, as the date from which the statute of limitation on such
 16 claims begins to run. See Brown, 28 Cal. App. 5th at 839 (holding that the plaintiff
 17 had one-year from the date of termination to notify the LWDA of the plaintiff’s
 18 PAGA claim, which was based on Section 201-203); Crosby, 42 F. Supp. 3d at 1346
 19 (holding that, exclusive of tolling, the plaintiff had one year from the date of his
 20 termination to file a PAGA claim based on violation of Section 201); see also Hill,
 21 2019 WL 935976, at *1-2 (holding that, inclusive of tolling, the plaintiff had one
 22 year and 65 days from the date of his termination to file his PAGA claim, which was
 23 based on the alleged failure to timely pay all wages upon termination); Slay v. CVS
 24 Caremark Corp., No. 1:14–cv–01416–TLN–GSA, 2015 WL 2081642, at *6 (E.D.
 25 Cal. May 4, 2015)(holding that, exclusive of tolling, the plaintiff had one year from
 26
 27             2
           In Pineda, the plaintiff had resigned with two-week notice, so that final
 28 wages were due on the final workday. Id. at 1393.
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   1 the date of his termination file his PAGA claim, which was based on the alleged
   2 failure to timely pay all wages upon termination).
   3             Third, Plaintiff’s theory conflates the remedy provided by Labor Code Section
   4 203 with the violation. Specifically, the remedy for a violation of Section 203 is a
   5 “penalty” in an amount equal to up to 30 days’ wages. This is clear from the
   6 language of statute itself, which states:
   7                           If an employer willfully fails to pay, without abatement or
                               reduction, in accordance with Sections 201, 201.3, 201.5,
   8
                               201.6, 201.9, 202, and 205.5, any wages of an employee
   9                           who is discharged or who quits, the wages of the employee
                               shall continue as a penalty from the due date thereof at the
 10
                               same rate until paid or until an action therefor is
 11                            commenced; but the wages shall not continue for more than
                               30 days.
 12
 13 CAL. LAB. CODE § 203(a) (emph. added).
 14              It is clear from the plain language of Section 203 that the violation occurs on
 15 the final day of employment, not for the 30 ensuing days by which the remedy is
 16 measured. Specifically, as is relevant to Plaintiff’s claims in this action, Section 203
 17 punishes an employer who willfully fails to pay final wages “in accordance with”
 18 Labor Code Sections 201 and 202. Section 201 requires payment upon termination
 19 if the employer initiates the termination, and Section 203 requires payment within
 20 72 hours of notice of resignation if the employee initiates the termination. Hence, a
 21 willful failure to pay wages “in accordance with” Sections 201 and 202 necessarily
 22 occurs no later than 72 hours after employment ends, which is the latest date at which
 23 a PAGA claim can accrue. In other words, Section 203 simply states:
 24                            If an employer willfully fails to pay, without abatement or
                               reduction, any wages of an employee who is discharged
 25
                               (Section 201) or who quits (Section 202), the remedy for
 26                            such violation is a penalty equal to up to 30 days’ wages.
 27              Finally, Defendants have been unable to locate a single case holding that
 28
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   1 claims under Sections 201-203 accrue later than either the last day of work or 72
   2 hours after resignation without notice, much less 30 days as alleged by Plaintiff. In
   3 contrast, numerous courts have held that claims under Sections 201-203 can actually
   4 accrue before the termination date, if the unpaid wages were due at an earlier point
   5 during an employee’s employment, as alleged throughout Plaintiff’s Complaint. See
   6 Ayala, 263 F. Supp. 3d at 914 (holding that claims for failure to timely pay wages
   7 upon termination under Section 201-203, “accrue on the date wages become due”);
   8 Stanley v. Distrib. Alts., No. EDCV 17-2173 AG (KKx), 2018 WL 6010357, at *2
   9 (C.D. Cal. Feb. 26, 2018)(“[T]he date of termination isn’t the appropriate marker for
 10 the statute of limitations inquiry, here. The statutory clock starts ticking as soon as a
 11 potential plaintiff’s wages become due.”). For example, in Ayala, the plaintiff was
 12 terminated in July 2015. Ayala, 263 F. Supp. 3d at 914. In her complaint, filed in
 13 September 2016, she alleged violations of Sections 201-203, for failure to timely
 14 pay all wages upon termination. Id. Her claim was based on the defendant’s alleged
 15 failure to compensate on-call services and missed meal breaks between 2005 and
 16 2010. Id. The court held the plaintiff’s claims were time-barred because the
 17 underlying wages were due more than 3 years before the filing of the complaint,
 18 even though the plaintiff had filed her complaint less than 3 years after her
 19 termination. Id. Similarly, in Stanley, the court dismissed the plaintiff’s claim under
 20 Sections 201-203 because the alleged wage underpayment occurred outside the
 21 statute of limitations, even though the complaint was filed within three years of the
 22 termination. Stanley, 2018 WL 6010357, at *2-3.
 23             Plaintiff’s PAGA claim based on violations of Section 201-203, like the
 24 claims in Ayala and Stanley, is based on DSW’s alleged failure to pay Plaintiff and
 25 other aggrieved employees “minimum, regular and/or overtime wages during their
 26 employment.”              (Compl. ¶ 20 (emphasis added).)       Thus, assuming Plaintiff
 27 experienced any underpayment of “minimum, regular and/or overtime wages”
 28 during her final days of employments, those wages would be due on her final
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   1 paycheck, either on her last day of employment or within 72 hours, but no later. For
   2 any alleged wage underpayments that occurred earlier than her last pay period, the
   3 statute of limitations on those violations began to run on the date the wages were due
   4 (i.e., Plaintiff’s regular bi-weekly paycheck).
   5             For these reasons, Plaintiff’s allegation, which is not based on a cognizable
   6 legal theory, cannot save her PAGA Claim from dismissal.
   7             PLAINTIFF MUST BE COMPELLED TO ARBITRATE HER
   8             INDIVIDUAL CLAIMS AGAINST DEFENDANTS.
   9             A.            The FAA Applies to Plaintiff’s Arbitration Agreement.
 10              As a foundational matter, the FAA applies to the parties’ agreement. The
 11 Arbitration Agreement itself references and acknowledges applicability of the FAA.
 12 (See Clayton Decl., Ex. 7, p. 6. top screen [“This Arbitration Agreement is governed
 13 by and enforceable under the Federal Arbitration Act, 9 U.S.C. section 1, et seq.
 14 (‘FAA’).”])
 15              The FAA applies to any written arbitration provision in “a contract evidencing
 16 a transaction involving commerce.” Allied-Bruce Terminix Cos. v. Dobson, 513
 17 U.S. 265, 268 (1995)(citing 9 U.S.C. § 2). This phrase is to be read broadly,
 18 extending the FAA’s reach to the limits of Congress’ Commerce Clause power. Id.;
 19 see also id. at 282 (local termite protection contract “involved commerce” under the
 20 FAA due to one party’s multistate business and the fact that materials were sourced
 21 from out-of-state). Furthermore, there is no requirement that Plaintiff’s specific
 22 work tasks must have touched interstate commerce; rather, the FAA applies if, in the
 23 aggregate, the economic activity of Defendants’ business affects interstate
 24 commerce. See Citizens Bank v. Alafabco, Inc., 539 U.S. 52, 56-57 (2003)(“[I]t is
 25 perfectly clear that the FAA encompasses a wider range of transactions than those
 26 actually ‘in commerce’– that is, ‘within the flow of interstate commerce[.]’”).
 27              For purposes of the FAA, the arbitration agreement of a nation-wide retail
 28
                                                                                    CASE NO. 2:19-cv-09477-DSF-AFM
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   1 store, like DSW, which operate stores in 44 states and the District of Columbia,3 is
   2 clearly a contract that involved interstate commerce. See Carmax Auto Superstores
   3 Cal. L.L.C. v. Hernandez, 94 F. Supp. 3d 1078, 1101 (C.D. Cal. 2015)(holding that
   4 the employment agreement of a retailer doing business in 36 states involved
   5 interstate commerce); see also Martinez v. Leslie’s Poolmart, Inc., No. 8:14–cv–
   6 01481–CAS (CWx), 2014 WL 5604974, *3 n.4 (C.D. Cal. Nov. 3, 2014)(holding
   7 that the FAA applied to the arbitration agreement of an out-of-state retailer operating
   8 in California and 34 other states).
   9             B.            A Valid Arbitration Agreement Between Plaintiff And Defendants
 10                            Exists.
 11              Under the explicit language of the Arbitration Agreement, an agreement to
 12 arbitrate all claims between Plaintiff and Defendants was established when Plaintiff
 13 continued her employment with DSW after receiving the Arbitration Agreement on
 14 March 15, 2017, and did not opt out within the 30-day opt-out period. The
 15 Arbitration Module informed Plaintiff in three places of her right to opt out: (1) On
 16 the Overview tab; (2) in Section 9 of the Arbitration Agreement; and (3) on the Opt
 17 Out Instruction tab. (Clayton Decl., Ex. 7, pp. 1, 5, 6.) In each of those places, the
 18 Arbitration Module also informed Plaintiff that she would be bound by the
 19 Arbitration Agreement if she continued working for DSW without opting out of the
 20 Arbitration Agreement. (Id.) For example, Section 9 states:
 21                            Arbitration is not a mandatory condition of Employee’s
                               employment at the Company, and therefore an
 22
                               Employee may submit a statement notifying the
 23                            Company that the Employee wishes to opt out and not
                               be subject to this Agreement.
 24
                               [¶¶]
 25
                               If an Employee does not opt out of this Agreement within
 26
 27       See DSW’s website, https://stores.dsw.com/usa.html, for a list of locations.
                 3
    The DSW website standing alone evidences that DSW is engaged in interstate
 28 commerce.
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   1                           30 days of the Employee’s receipt of this Agreement
                               through one of the methods specified above, continuing
   2
                               employment constitutes mutual acceptance of the terms of
   3                           this Agreement by Employee and the Company . . ..
   4 (Id. Ex. 7, p. 5, top and bottom image.) Similarly, the Handbook Module, which
   5 Plaintiff had reviewed on the same day, also informed Plaintiff that she would be
   6 bound by the Arbitration Agreement if she did not timely opt out. (Id. Ex. 6, p. 1,
   7 bottom image [“Associates who do not opt out of the arbitration agreement within
   8 30 days of receipt will be bound by the terms of the arbitration agreement.”].)
   9             Finally, to remove any doubt about how the agreement to arbitrate was
 10 formed, Plaintiff was asked on the last screen of the Arbitration Module to
 11 acknowledge that she understood the following: “I understand that by accepting or
 12 continuing employment with the Company, I agree to be bound by the terms of the
 13 Arbitration Agreement.” (Id. Ex. 7, p. 7, top image.) Plaintiff acknowledged her
 14 understanding by clicking the box next the words “I acknowledge” to complete the
 15 Arbitration Module. (Id. ¶ 9.c.)
 16              After reviewing and completing the Arbitration Module, Plaintiff continued
 17 her employment with DSW for over a year, during which time she never opted out
 18 of the Arbitration Agreement, much less within 30 days of March 15, 2017. (Shoap
 19 Decl. ¶ 3.)
 20              Plaintiff’s continuing employment with DSW after being informed about the
 21 Arbitration Agreement and failing to opt out is all that is needed to create an
 22 enforceable arbitration agreement. See Johnmohammadi v. Bloomingdale’s, Inc.,
 23 755 F.3d 1072, 1074 (9th Cir. 2014)(holding that an employee who failed to opt out
 24 was bound by the terms of an arbitration agreement, which informed her that “she
 25 agreed to resolve all employment-related disputes through arbitration unless she
 26 returned an enclosed [opt out] form within 30 days”); Diaz v. Sohnen Enters., 34
 27 Cal. App. 5th 126, 130-31 (2019)(holding that a plaintiff who refused to sign the
 28 arbitration agreement was bound by the arbitration agreement because she continued
                                                                                      CASE NO. 2:19-cv-09477-DSF-AFM
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   1 her employment after being told that continued employment would constitute
   2 consent); Harris v. Tap Worldwide, L.L.C., 248 Cal. App. 4th 373, 384
   3 (2016)(holding that an agreement to arbitrate may be “implied-in-fact where, as
   4 here, the employee’s continued employment constitutes her acceptance of an
   5 agreement proposed by the employer”); Securitas Sec. Servs. USA, Inc. v. Superior
   6 Court, 234 Cal. App. 4th 1109, 1122 (2015)(“The significance of [the plaintiff’s]
   7 decision not to opt out was that it manifested her acceptance of the dispute resolution
   8 agreement’s benefits, consistent with the trial court’s ruling that the agreement was
   9 validly entered into and binding on the parties.”); see also Knepper v. Ogletree, No.
 10 18-cv-00304-WHO, 2019 WL 144585, at *8 (N.D. Cal. Jan. 9, 2019)(holding that a
 11 plaintiff was bound by an arbitration agreement, even though she did not sign it,
 12 because she continued her employment with the defendant without opting out of the
 13 arbitration agreement despite knowing about the arbitration agreement and her right
 14 to opt); Zarandi v. All. Data Sys. Corp., No. CV 10-8309 DSF (JCQx), 2011 WL
 15 1827228, at *2 (C.D. Cal. May 9, 2011)(holding that a plaintiff’s “failure to opt out
 16 of the Arbitration Provision constitutes consent to those terms”).
 17             Despite these facts, Plaintiff has argued, during the pre-filing meet-and-confer
 18 process that no valid agreement to arbitrate exists because Plaintiff never signed the
 19 Arbitration Agreement. (Hering Decl. ¶¶ 5, 8, 10.c, 13.b, Exs, 16, 19, 23.) Plaintiff
 20 has further argued that the Arbitration Agreement itself uses “the term ‘signed’ to
 21 signify entering into this purported agreement,” and such language should be
 22 interpreted against Defendants. (Id.) Plaintiff’s argument fails for at least two
 23 reasons.
 24             First, as discussed above, the Arbitration Agreement is clear on how an
 25 agreement to arbitrate is formed – by (1) continuing employment, and (2) failing to
 26 opt out within 30 days of receiving the Arbitration Agreement.                           Here, both
 27 conditions were met and, thus, Plaintiff is bound by the Arbitration Agreement. The
 28 law is clear that to have a binding arbitration agreement “[a] signed agreement is not
                                                                                 CASE NO. 2:19-cv-09477-DSF-AFM
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   1 necessary”; instead “a party’s acceptance may be implied in fact,” as is the case here.
   2 Pinnacle Museum Tower Assn. v. Pinacle Mkt. Dev., L.L.C., 55 Cal. 4th 223, 236
   3 (2012).
   4             Second, contrary to Plaintiff’s assertion, the Arbitration Agreement nowhere
   5 states that it has to be signed to be enforceable. The language to which Plaintiff
   6 refers is found on the second slide of the Arbitration Module, which states: “The
   7 Company and Employee agree that their mutual agreement to arbitrate Claims, as
   8 well as Employment by the Company on or after the date Employee signs this
   9 Arbitration Agreement, provides sufficient consideration by each party for this
 10 Arbitration Agreement.” (Clayton Decl., Ex. 7, p. 1, bottom image [emph. added].)
 11 In other words, this sentence is simply reciting what the consideration is for entering
 12 into the Arbitration Agreement, part of which was Plaintiff’s continued employment.
 13 The reference to the word “signs” in the context of discussing consideration for the
 14 Arbitration Agreement does not somehow invalidate the repeated and unequivocal
 15 language in the Arbitration Agreement that Plaintiff would be bound by the terms of
 16 the Arbitration Agreement if she (1) continued her employment, and (2) failed to opt
 17 out within 30 days of receiving the Arbitration Agreement. In addition, Plaintiff
 18 specifically acknowledged that she understood that “by accepting or continuing
 19 employment with the Company, [she] agree[d] to be bound by the terms of the
 20 Arbitration Agreement” when she clicked the box next the words “I acknowledge”
 21 to complete the Arbitration Module. (Id. ¶ 9.c; Ex. 7.) This acknowledgement is
 22 the functional equivalent of a signature. Bisig v. Time Warner Cable, Inc., 940 F.3d
 23 205, 208 n.2 (6th Cir. 2019)(stating that electronic “acknowledgments are the
 24 functional equivalent of signatures”).
 25              The court in Furlough v. Capstone Logistics, LLC, No. 18-cv-02990-SVK,
 26 2019 WL 2076723 (N.D. Cal. May 10, 2019), rejected the same argument made by
 27 Plaintiff here. In Furlough, the plaintiff argued that arbitration agreement contained
 28 “express references to ‘signing’ and there [was] no evidence of a signed Arbitration
                                                                                CASE NO. 2:19-cv-09477-DSF-AFM
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   1 Agreement.” Id. at *7. The plaintiff further argued that the agreement “did not
   2 contain express language that by continuing employment, the employee was
   3 automatically bound to the terms of an arbitration agreement.” Id. Despite these
   4 facts, the court found that the plaintiff had consented to arbitration by electronically
   5 checking a box acknowledging receipt and reading of the arbitration agreement. Id.
   6 at *6. The court held that even repeated references to the word “signing” in the
   7 arbitration agreement did not change the court’s conclusion that the plaintiff had
   8 electronically consented to arbitration, even though the plaintiff had not signed the
   9 arbitration agreement. Id. at *7. Here, for the reasons outlined above, the facts are
 10 even stronger than in Furlough, and the reference to the word “signs” does not
 11 change the fact that there is an enforceable arbitration agreement between the parties.
 12             C.            The Claims Asserted By Plaintiff Fall Squarely Within The
 13                           Arbitration Agreement.
 14             By not opting out of the Arbitration Agreement, Plaintiff agreed to arbitrate
 15 “all Claims between the Company and Employee.” (Clayton Decl., Ex. 7, p. 2, top
 16 image.) “Claims” is defined as “all past, present, and future claims, disputes, and
 17 controversies of any nature in any way arising out of, relating to, or associated with
 18 Employee’s employment with the Company” and specifically includes claims for
 19 “unpaid wages, bonuses, expenses or penalties, any claims relating to benefits, hours
 20 of work or working conditions[.]” (Id.) Plaintiff’s Complaint alleges wage-and-
 21 hour violations stemming from her employment by DSW. (See Compl.) It cannot
 22 be reasonably disputed that such claims are squarely within the scope of the
 23 Arbitration Agreement.
 24             D.            Plaintiff Cannot Establish That The Arbitration Agreement Is
 25                           Procedurally Unconscionable Because Plaintiff Had The Right And
 26                           A Meaningful Opportunity To Opt Out Of The Arbitration
 27                           Agreement.
 28             During the pre-filing meet-and-confer process, Plaintiff also argued that, even
                                                                                   CASE NO. 2:19-cv-09477-DSF-AFM
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   1 if an agreement to arbitrate exists between the parties, it is unenforceable due to
   2 “illegality, unconscionability, and being void and against public policy in connection
   3 with the illegal forfeiture of statutory employment rights.” (Hering Decl., ¶¶ 10,
   4 13.b, Ex. 23.) To show that the Arbitration Agreement is unconscionable under
   5 California law, Plaintiff has to show both procedural and substantive
   6 unconscionability.        OTO, L.L.C. v. Kho, 8 Cal. 5th 111, 125 (2019)(“Kho”);
   7 Armendariz v. Found. Health Psychcare Servs., Inc., 24 Cal. 4th 83, 114 (2000).
   8 Here, Plaintiff cannot do so.
   9             Plaintiff’s unconscionability argument fails because she cannot show any
 10 procedural unconscionability. As the California Supreme Court said recently, “[a]
 11 procedural unconscionability analysis begins with an inquiry into whether the
 12 contract is one of adhesion.” Kho, 8 Cal. 5th at 126 (internal quotation omitted). If
 13 the agreement is one of adhesion, then the court must ask whether the “contract’s
 14 formation created such oppression or surprise that closer scrutiny of its overall
 15 fairness is required.” Id. at 126. In the employment context, “[a]rbitration contracts
 16 imposed as a condition of employment are typically adhesive[.]” Id.
 17              On the other hand, an arbitration agreement that provides a “meaningful
 18 opportunity to opt out” is not a contract of adhesion. See Circuit City Stores v.
 19 Ahmed, 283 F.3d 1198, 1199 (9th Cir. 2002)(“Ahmed”); Vigueras v. Red Robin Int’l,
 20 Inc., No. SACV 17-01422 JVS (DFMx), 2019 WL 1425887, at *4 (C.D. Cal. Feb.
 21 21, 2019)(“[A]n opt out provision eliminates any possibility of adhesiveness and
 22 precludes a finding of oppression.”)         Further, as the Ninth Circuit has held,
 23 “providing a ‘meaningful opportunity to opt out’ can preclude a finding of
 24 procedural unconscionability and render an arbitration provision enforceable.”
 25 Hoffman v. Citibank, N.A., 546 F.3d 1078, 1085 (9th Cir. 2008)(citing Ahmed, 283
 26 F.3d at 1199); see also Rodgers v. 20-20 Commc’ns., Inc., No. CV 19-0026-DOC
 27 (SPx), 2019 WL 2896122, at *3 (C.D. Cal. Apr. 30, 2019)(“The Ninth Circuit and
 28 the district courts within it have recognized that there is no procedural
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   1 unconscionability where employees have the right to opt out of the agreement to
   2 arbitrate and such a provision stands alone as its own section.”).
   3             Here, the Arbitration Agreement is not a contract of adhesion. The Arbitration
   4 Agreement is explicit that arbitration is not a mandatory condition of employment;
   5 instead, Plaintiff, like all associates, was free to opt out of the Arbitration Agreement.
   6 (Clayton Decl., Ex. 7, p. 5, top image [“Arbitration is not a mandatory condition of
   7 Employee’s employment at the Company, and therefore an Employee may submit a
   8 statement notifying the Company that the Employee wishes to opt out and not be
   9 subject to this Agreement.”].)           The Arbitration Agreement gave Plaintiff a
 10 meaningful opportunity to opt out (30 days) and provided her with three methods of
 11 doing so (mail, email, and fax). (Id.) Further, the Arbitration Agreement did not
 12 hide the right to opt out in fine print; instead, it made three explicit references to the
 13 right to opt out, which were placed prominently throughout the Arbitration Module:
 14 (1) On the Overview tab; (2) in Section 9 of the Arbitration Agreement; and (3) on
 15 the Opt Out Instruction tab. (Id., Ex. 7, pp. 1, 5, 6.) Additionally, the Arbitration
 16 Agreement informed Plaintiff about her “right to consult with counsel of [her] choice
 17 concerning this [Arbitration] Agreement and/or the right to opt out of this
 18 [Arbitration] Agreement.” (Id., Ex. 7, p. 5, bottom image.) And DSW separately
 19 notified Plaintiff about the right to opt out of the Arbitration Agreement in the
 20 Handbook. (Id., Ex. 6, p. 1, bottom image.) Thus, there was neither oppression nor
 21 surprise in the contract formation.
 22              In summary, there is nothing in the Arbitration Agreement or the formation
 23 of it that justifies a finding of procedural unconscionability. As such, the Court does
 24 not even need to consider whether there is any substantive unconscionability.4
 25
                 4
 26          Given the absence of procedural unconscionability, there is no need for
    Defendants to address Plaintiff’s argument that the Arbitration Agreement is
 27 substantively unconscionable because it included an impermissible waiver of
 28 statutory employment rights.
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   1 Instead, the Court should enforce the Arbitration Agreement just like other courts in
   2 this Circuit have enforced arbitration agreements that provided a meaningful
   3 opportunity to opt out. See, e.g., Kilgore v. KeyBank, N.A., 718 F.3d 1052, 1059
   4 (9th Cir. 2012)(en banc)(finding no procedural unconscionability where agreement
   5 provided opportunity to opt out and the arbitration agreement was not hidden in fine
   6 print); Ahmed, 283 F.3d at 1199-1200 (finding no procedural unconscionability
   7 where agreement provided opportunity to opt out and the terms of the agreement
   8 were clearly spelled out); Rodgers, 2019 WL 2896122, at *3 (enforcing the
   9 arbitration agreement because it was not procedurally unconscionable due to an opt-
 10 out provision); Vigueras, 2019 WL 1425887, at *4 (enforcing the arbitration
 11 agreement because it was not procedurally unconscionable due to an opt-out
 12 provision).
 13             During the pre-filing meet-and-confer process, Plaintiff has asserted that
 14 DSW did not provide her with a completed copy of the arbitration, and that this
 15 makes the Arbitration Agreement per se procedurally unconscionable under Kho.
 16 (Hering Decl., ¶ 10.b.) This argument fails for two reasons: First, it is factually
 17 untrue. Plaintiff had access to the completed Arbitration Module on her LRC Online
 18 transcript at any time and she could have printed screenshots of the different screens
 19 of the Arbitration Module at any time. Further, she had access to a PDF version of
 20 the Arbitration Agreement on DSW’s intranet and she could have a printed a copy
 21 of the PDF version at any time. (Clayton Decl., ¶¶ 10-11.) Second, while Kho
 22 mentions in passing that the plaintiff “was not given a copy of the agreement he had
 23 signed,” the court nowhere states that this fact, by itself, establishes procedural
 24 unconscionability. Kho, 8 Cal. 5th at 128. Instead, the court viewed this fact as
 25 merely one item in a long list of factors that created oppression in that case. Id. at
 26 127-28. As discussed above, here, the existence of “an opt out provision eliminates
 27 any possibility of adhesiveness and precludes a finding of oppression.” Vigueras,
 28 2019 WL 1425887, at *4.
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   1             E.            The Court Must Compel Individual Arbitration Because A Valid
   2                           Arbitration Exists That Covers Plaintiff’s Claims.
   3             Having established the two threshold issues under the FAA – (1) the existence
   4 of “a valid arbitration agreement” that (2) “encompasses the dispute” (Davis, 755
   5 F.3 at 1092) – the Court must compel Plaintiff’s individual claims to arbitration. See
   6 Dean Witter Reynolds Inc. v. Byrd, 470 U.S. 213, 218 (1985) (“By its terms, the
   7 [FAA] leaves no place for the exercise of discretion by a district court, but instead
   8 mandates that district courts shall direct the parties to proceed to arbitration on issues
   9 as to which an arbitration agreement has been signed.”).
 10              THE             COURT       SHOULD        STRIKE         PLAINTIFF’S                  CLASS
 11              ALLEGATIONS BECAUSE PLAINTIFF WAIVED HER RIGHT TO
 12              BRING A CLASS ACTION.
 13              In addition to compelling Plaintiff’s individual claims to arbitration, the Court
 14 should strike Plaintiff’s class allegations pursuant to Federal Rule of Civil Procedure
 15 12(f). When Plaintiff agreed to be bound by the terms of the Arbitration Agreement
 16 by not opting out of the Arbitration Agreement within 30 days of March 15, 2017,
 17 Plaintiff explicitly waived her right to bring any action as a class action. (Clayton
 18 Decl., Ex. 7, p. 4, bottom image [“Both the Company and you agree to bring any
 19 dispute in arbitration on an individual basis only, and not on a class, collective, or
 20 representative basis on behalf of others.”].)                Further, the parties’ Arbitration
 21 Agreement expressly delegates “disputes regarding the validity, enforceability or
 22 breach” of the class action waiver to the court and not the arbitrator. (Id.)
 23              The law is clear that class action waivers in arbitration agreements are valid
 24 and enforceable. See Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1619 (2018);
 25 Iskanian v. CLS Transp. L.A., L.L.C., 59 Cal. 4th 348, 360 (2014), cert. denied, 135
 26 S. Ct. 1155 (2015). Thus, the Court should strike Plaintiff’s class allegations from
 27 the Complaint. See, e.g., Romo v. CBRE Grp., Inc., No. 8:18-cv-00237-JLS-KES,
 28 2018 WL 4802152, at *9 (C.D. Cal. Oct. 3, 2018)(striking the class allegations due
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   1 a class action waiver in the arbitration agreement); Salberg v. Massage Green Int’l
   2 Franchise Corp., No. 3:15-cv-02805-GPC-WVG, 2016 WL 3667154, at *3 (S.D.
   3 Cal. July 11, 2016)(striking class allegations pursuant because arbitration agreement
   4 contained a class action waiver); Eshagh v. Terminix Int’l Co. L.P., No. 1:11cv0222
   5 AWI DLB, 2012 WL 1669416, at *10 (E.D. Cal. May 11, 2012)(striking class
   6 allegations because the arbitration agreement was silent on class arbitration).
   7             THE COURT SHOULD STAY THE ACTION DURING THE
   8             PENDENCY OF THE ARBITRATION.
   9             If a valid agreement to arbitrate encompasses the dispute at issue, the FAA
 10 “requires the court to enforce the arbitration agreement in accordance with its
 11 terms.” Chiron, 207 F.3d at 1130. The district court must then compel arbitration
 12 and “stay the action or dismiss it outright when, as here, the court determines that all
 13 of the claims raised in the action are subject to arbitration.” Johnmohammadi, 755
 14 F.3d at 1074; 9 U.S.C. §§ 3, 4. Because arbitration is the required forum for all of
 15 Plaintiff’s claims against Defendants, except for the PAGA Claim, this entire action
 16 should be stayed as of the filing of this Motion until the completion of arbitration.
 17              CONCLUSION
 18              For the foregoing reasons, Defendants respectfully request that the Court grant
 19 their Motion and issue an order (1) dismissing Plaintiff’s eleventh cause of action;
 20 (2) compelling arbitration of Plaintiff’s individual claims against Defendants; (3)
 21 striking Plaintiff’s class allegations; and (4) staying the action pending the
 22 completion of the arbitration.
 23 Dated: December 11, 2019                         RUTAN & TUCKER, LLP
                                                     BRIAN C. SINCLAIR
 24                                                  PETER HERING
 25
                                                     By:        /s/ Brian C. Sinclair
 26                                                        Brian C. Sinclair
                                                           Attorneys for Defendants
 27                                                        DSW SHOE WAREHOUSE, INC. and
                                                           DESIGNER BRANDS INC.
 28
                                                                                  CASE NO. 2:19-cv-09477-DSF-AFM
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